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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff,                    Criminal Action No. 14-20417
                                                   Honorable Victoria A. Roberts
                                                   Magistrate Judge David R. Grand
v.

D-1    THOMAS MACKEY,
D-2    KENNETH GREEN,
D-3    ALAN CLEMONS,
D-4    JOHN FAYAD,
D-5    DOUGLAS DEMARIA,
D-6    URBAN HOTTS,
D-7    THEODORE LASATER,
D-8    JOSEPH MELCHER,
D-9    DAVID MILAZZO,

                  Defendants.
__________________________________/

 REPORT AND RECOMMENDATION TO DENY DEFENDANT KENNETH GREEN’S
 MOTION TO SUPPRESS ELECTRONIC SURVEILLANCE BECAUSE OF FAILURE
       TO ESTABLISH AN ADEQUATE SHOWING OF NECESSITY [106]


I.     RECOMMENDATION

       Before the Court for a Report and Recommendation is Defendant Kenneth Green’s

Motion to Suppress Electronic Surveillance Because of the Failure to Establish an Adequate

Showing of Necessity [106], in which all other Defendants have joined [108, 110, 111, 112, 113,

114, 116, 134]. The government filed a response to the motion on March 12, 2015, and Green

filed a reply. [149, 155]. Having reviewed the parties’ filings, the Court dispenses with oral

argument pursuant to E.D. Mich. LCrR 12.1(a) and E.D. Mich. LR 7.1(f)(2).

       For the reasons stated below, the Court recommends that Defendants’ motion to suppress

[106] be denied.
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II.    REPORT

       A.      Background

       In this criminal case, Defendants Thomas Mackey, Kenneth Green, Alan Clemons, John

Fayad, Douglas Demaria, Urban Hotts, Theodore Lasater, Joseph Melcher, and David Milazzo

were indicted on charges related to their alleged participation in an illegal gambling operation.

More specifically, they are charged with violating (1) 18 U.S.C. § 371 – Conspiracy to Commit

Offenses Against the United States (to wit, to conduct an illegal gambling business; to engage in

the business of betting and wagering and knowingly use a wire communication facility for the

transmission in interstate or foreign commerce of bets and wagers and information assisting in

the placing of bets and wagers of any sporting contest; and to use the mail or any facility in

interstate or foreign commerce to distribute the proceeds of an unlawful activity, in violation of

18 U.S.C. §§ 1955, 1084, and 1952); and (2) 18 U.S.C. § 1955 – Illegal Gambling Business.

       Defendants have moved to suppress electronic surveillance which the government

obtained pursuant to four Title III wiretap applications – an initial one and three extensions –

which were approved by the Honorable Nancy G. Edmunds on September 7, 2012, October 10,

2012, November 8, 2012, and January 29, 2013, respectively.1 Federal Bureau of Investigation

Special Agent Marc A. Silski submitted each of the applications and accompanying affidavits in

support.    The question before this Court is whether Silski’s affidavits provided sufficient

information to satisfy the “necessity” requirement for approving wiretap applications.2



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  Defendants specifically challenge only the initial and first two extensions. [106 at 1, 13-16].
However, they do argue that “[t]he original and each succeeding Affidavit are inadequate,” [id.
at 18,] and the government has provided the Court with all four affidavits. Accordingly, the
Court will address all four affidavits in this Report and Recommendation.
2
 Defendants do not challenge whether the affidavits in question provided probable cause for the
Title III wiretaps, and the Court will not address that issue. [106 at 4].
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       B.      Applicable Law

       “Title III of the Omnibus Crime Control and Safe Streets Act of 1968, 18 U.S.C. §§

2510–2520 (the “Act”), has established a comprehensive scheme for the regulation of

government electronic surveillance, prohibiting all secret interception of communications except

as authorized by the courts in response to applications from law enforcement officials.” United

States v. Lambert, 771 F.2d 83, 90 (6th Cir. 1985). One provision in that Act provides that a

wiretap application must contain:

               … a full and complete statement as to whether or not other investigative
               procedures have been tried and failed or why they reasonably appear to be
               unlikely to succeed if tried or to be too dangerous.

18 U.S.C. § 2518(1)(c). While this provision is known as the “necessity” requirement, as the

Sixth Circuit has explained,

               … the purpose of the necessity requirement “is not to foreclose electronic
               surveillance until every other imaginable method of investigation has been
               unsuccessfully attempted, but simply to inform the issuing judge of the
               difficulties involved in the use of conventional techniques.”

United States v. Corrado, 227 F.3d 528, 539 (6th Cir. 2000) (quoting United States v.

Landmesser, 553 F.2d 17, 20 (6th Cir. 1977)). See also United States v. Stewart, 306 F.3d 295,

305 (6th Cir. 2002) (“In endeavoring to secure a wiretap warrant, the government need not prove

the impossibility of other means of obtaining information. Instead, the necessity provisions

merely require that law enforcement officials ‘give serious consideration to the non-wiretap

techniques prior to applying for wiretap authority and that the court be informed of the reasons

for the investigators’ belief that such non-wiretap techniques have been or will likely be

inadequate.’” (quoting Lambert, 771 F.2d at 91)). In short, “the court may grant the [Title III

application] if it determines [from the affidavit presented to it] that ‘normal investigative

procedures have been tried and have failed or reasonably appear to be unlikely to succeed if tried

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or to be too dangerous.’” Lambert, 771 F.2d at 91 (quoting 18 U.S.C. § 2518(3)(c)). The

provisions do not require a showing that investigators have “exhaust[ed] every conceivable non-

wiretap investigative technique.” Id.3

       “A wiretap authorization order is presumed proper and the defendants have the burden of

overcoming that presumption.” United States v. Darrah, 2014 WL 5311534, at *2 (E.D. Mich.

Oct. 17, 2014). A court reviewing the validity of an electronic surveillance order must accord

“great deference” to the issuing judge’s determination, and “the fact that a later trial judge or

reviewing court may feel that a different conclusion was appropriate does not require, nor even

authorize, the suppression of evidence gained through such a warrant.” Corrado, 227 F.3d at

539 (quoting United States v. Alfano, 838 F.2d 158, 162 (6th Cir.1988)).

       C.      Analysis4

               i.      The Initial Application and Affidavit

       The government contends that Silski’s initial affidavit “set forth the extent of evidence

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  In light of the Sixth Circuit’s clear interpretation of the statutes in question, the Court rejects
Defendants’ argument that the government must show “exhaustion” of all or any particular
investigative procedures before a wiretap application may be approved. [106 at 17].
4
  As a preliminary matter, the Court declines to conduct an evidentiary hearing with respect to
the instant motion. Under Franks v. Delaware, 438 U.S. 154, 155-56 (1978), a defendant is
entitled to an evidentiary hearing only if he makes a “substantial preliminary showing” that a
“false statement knowingly and intentionally, or with reckless disregard for the truth, was
included by the affiant in the warrant affidavit, and if the allegedly false statement is necessary to
the finding of probable cause.” See also United States v. Mastromatteo, 538 F.3d 535, 545 (6th
Cir. 2008) (defendant must “make[ ] a substantial preliminary showing” of false statements in
affidavit to warrant holding an evidentiary hearing); United States v. Abboud, 438 F.3d 554, 574
(6th Cir. 2006) (the “burden is on the defendant to show such falsehoods in the affidavit”).
Defendants’ motion makes no such showing, but merely argues that the affidavit in question
failed to establish the “necessity” for a wiretap. See also U.S. v. Watson, 2011 WL 1565798, at
*8 (E.D. Mich. Apr. 25, 2011) (declining to hold a Franks hearing on motion to suppress based
on alleged failure to show necessity where Defendant had not sufficiently identified intentionally
false statements). Thus, the motion poses a strictly legal question that can be resolved by
evaluating “the information presented in the four corners of the affidavit[s].” United States v.
Jackson, 470 F.3d 299, 306 (6th Cir. 2006).
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collected in the investigation at the time of the application and the reasons why continued use of

traditional investigative techniques would likely fail to uncover the true scope of the crime under

investigation – a telephonic and internet-based gambling conspiracy.” [149 at 10]. The Court

concurs with that statement, and finds that Silski’s affidavit satisfied the Act’s “necessity”

requirement.

       Silski’s affidavit begins by describing the offenses being investigated, including 18

U.S.C. § 1084, which makes it illegal for a person “engaged in the business of betting or

wagering” to “knowingly use[] a wire communication facility for the transmission in interstate or

foreign commerce of bets or wagers or information assisting in the placing of bets or wagers on

any sporting event or contest…” 18 U.S.C. § 1084(a); Aff. at ¶3. The affidavit identifies the

persons whose communications are being sought, two of whom – Thomas Mackey and Kenneth

Green – are defendants in this case. Aff. at ¶¶2-3. The affidavit spends about two pages

describing “The Detroit La Cosa Nostra,” which information the Defendants argue was

improperly included “to create some mystique of dangerousness and divert attention from

[Silski’s] obligation to overcome the statutory presumption against wiretapping.” Id. at ¶¶11-13.

While the three paragraphs related to the Detroit La Cosa Nostra Family may not contain the

most germane information in the affidavit, they far from unfairly tainted it. Indeed, one of the

affidavit’s targets is identified as a member (who holds the rank of capo) of the Detroit La Cosa

Nostra Family, Aff. at ¶¶12, 20, and later in the affidavit, Silski avers that “all of the informants

[with whom agents spoke] have stated that they are afraid of bodily harm to either themselves or

members of their families if their identities are revealed.” Id. at ¶150; see also infra at 8. The

affidavit contains other factual references linking the Detroit La Cosa Nostra Family to one of

the targets and target offenses. E.g., Aff. at ¶28.



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       The affidavit then discusses various alternative forms of investigative techniques to wire

intercepts. First, the affidavit discusses the information received from four confidential human

sources (“CHS”), identified as FBI-1, 2, 3 and 4, and an informant identified by name. Aff. at

¶¶25-69. Generally speaking, the affidavit recounts information provided by the five individuals

which link the targets of the investigation to the target offenses. Id. FBI-1 reported to Silski that

he “witnessed [Defendant] Mackey take bets on [one of the target telephones],” and that even

though “most bettors place bets on websites utilized by their bookmaker, [they] still need to

telephonically contact bookmakers to either raise their credit limit on the website, or place a bet

on a sport they typically do not bet on.” Id. at ¶41.

       Silski’s affidavit then described physical surveillance which had taken place, much of

which was from a 2007-2010 undercover investigation conducted by the Eastpointe Police

Department. Id. at ¶¶70-89. The undercover officer (“UCO”) reported that Mackey agreed to

serve as his bookie, and instructed the UCO as to how bets were to be made. Id. at ¶70. Mackey

provided the UCO with his own telephone number, as well as two numbers for an associate of

his, Ronald Yourofsky, who died two years into the undercover investigation. Id. at ¶¶70-74.

       Silski’s affidavit next described the use of telephone toll and pen register information in

the investigation. Id. at ¶¶90-122. The information showed numerous calls between the targets

of the investigation and the target telephones, and an increase in the volume of those calls around

major sporting events. Id. at ¶¶90-92, 113-117.

       Finally, Silski listed approximately 20 prior authorized wiretaps (including extensions)

for many of the same persons who are identified in Special Agent Silski’s instant affidavit. Id. at

¶¶124-144. Silski averred that monitoring of those wiretaps had ceased as of the date of his

affidavit. Id. at ¶145.



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       Silski’s affidavit then made a proffer regarding the “unavailability of alternative

investigative techniques.” Id. at ¶¶149-161. It is this section that forms the basis for the bulk of

Defendants’ arguments, including that: (1) “[m]any of [Silski’s] conclusions [regarding

unavailability] are not predicated upon specific, documented facts but rather on [his and other

unnamed agents’] ‘experience’ …” and on purported “self-serving prognostication”; (2) Silski

“undermines his own claim [by referencing a] lengthy list of potential witnesses” throughout his

affidavit; and (3) Silski improperly suggested that undercover operations would not be successful

when they previously had been utilized with some success.

       The Court will address these arguments in turn, but it should be clear that it does so in

light of the binding legal authority and standards described above. Supra at 3-4. Thus, the

Court’s task is not to determine whether Silski’s affidavit showed a complete “exhaustion” of all

other potential investigative techniques, but rather, whether, giving proper deference to the

issuing judge’s determination, it is supported by a showing that “the investigators [gave] serious

consideration to the non-wiretap techniques prior to applying for wiretap authority and that the

court [was] informed of the reasons for the investigators’ belief that such non-wiretap techniques

have been or will likely be inadequate.” Lambert, 771 F.2d at 91.

       Turning to Defendants’ specific arguments, the Court finds that they lack merit. First,

although it is true that Silski relies on his (and his colleagues’) “experience” in investigating the

types of alleged illegal operations described in his affidavit, e.g., Aff. at ¶¶ 153, his conclusions

regarding the unavailability and ineffectiveness of non-wire tap investigation methods are far

from conclusory “self-serving prognostications.” Rather, Silski supported his conclusions with

specific information and details. Silski’s discussion of his conclusion that attempting to infiltrate

Defendant Mackey’s alleged operation would be ineffective is a good example. Far from simply



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referring to his own general “experience,” Silski referenced “the clandestine nature by which the

subjects conduct their activities, the close-knit relationship of the participants, and their distrust

of strangers.” Aff. at ¶153. Silski stated that although the “Detroit Division of the FBI has

attempted to infiltrate gambling houses in the Detroit area; this technique will not assist in the

infiltration of an illegal sports bookmaking operation, which is usually conducted by telephone

and computers.” Id.5 And, while Silski stated that the Eastpointe Police Department “had some

success placing wagers with Mackey’s bookmaking operation,” he noted that the undercover

operation failed to uncover the scope of Mackey’s operation.” Id. (emphasis added). Silski also

averred that, “All of the CHS’s referred to [in his affidavit] have stated that even if immunized

from prosecution and given protective custody, they would be unwilling to testify concerning

[the targets and target offenses]. Furthermore, all of the informants have stated that they are

afraid of bodily harm to either themselves or members of their families if their identities are

revealed.” Id. at ¶150. The affidavit provides other concrete information that is consistent with

the fears expressed by the CHS’s; when the UCO reported to Defendant Mackey that he was

having difficulty collecting money from another bettor who owed money to Mackey, Mackey

asked the UCO, “Why don’t you go ball bat him,” which Silski interpreted as “encouraging the

UCO to engage in an act of violence, or threaten an act of violence, with a baseball bat to obtain

the money owed to Mackey…”            Id. at ¶76.6    In sum, far from being mere “self-serving


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  The affidavit’s multiple references to Mackey and others using the telephone to conduct the
gambling operation further underscores the necessity of utilizing a wiretap as part of the
investigation. E.g., Aff. at ¶41 (FBI-1 “witnessed Mackey take bets on the telephone…”); see
Landmesser, 553 F.2d at 20 (“wiretapping is particularly appropriate when the telephone is
routinely relied on to conduct the criminal enterprise under investigation.”) (quoting United
States v. Steinberg, 525 F.2d 1126, 1130 (2d Cir. 1975)).
6
  Defendants’ argument that the affidavit’s identification of one informant by name “impeaches
[Silski’s] claims of danger, violence and inability to investigate” is not persuasive. [106 at 9].
The affidavit does not indicate that the named informant knew or considered whether his name
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prognostication,” Silski’s conclusions were supported by specific details and information.

       Second, the Court disagrees that by referencing a “lengthy list of potential witnesses” in

his affidavit, Silski “undermines his own claim” that “a grand jury could not likely ‘unearth’ the

illegal activities of [the targets].” [106 at 7]. Here, Defendants are referring to Paragraph 158 of

Silski’s affidavit, which provides:

               The prospects of conducting a successful grand jury investigation at this
               time, to unearth the illegal activities of the conspirators are poor…at this
               time, there is not enough evidence in the government’s possession
               concerning the criminal associates of [the targets] and/or the details of
               their operation for a grand jury investigation [] to be effective.
               Furthermore, such a grand jury investigation would likely alert the [targets
               of] this pending investigation and thereby cause them to alter their modus
               operandi, thereby frustrating the operation.

Aff. at ¶158. Thus, Silski articulated valid reasons why the grand jury could not simply call to

testify the various “potential witnesses” referenced by Defendants, and Defendants proffered no

information which would show Silski’s concerns to be unfounded.7

       Finally, Defendants’ argument that Silski improperly suggested that undercover

operations would not be successful when they were utilized previously lacks merit. Silski

indicated that investigators had “given thorough consideration to attempting to infiltrate the

gambling operation,” but concluded that such method was unlikely to succeed. Aff. at ¶153. As



would become public. And, even if that one individual did not fear being outed as an informant,
that would not disprove that other informants expressed fear and refused to testify.
7
   Silski also proffered that, “Interviews of individuals involved with the illegal gambling
activities under investigation would not be feasible at this time, inasmuch as any individual
identified (e.g., bettors), would likely fear bodily harm to himself or his family, and would be
unlikely to have knowledge of the upper echelon responsible for the operation.” Id. at ¶159. See
also, id. at ¶151 (“Interviews with any of the [] subjects or their associates concerning [the
alleged criminal activity] would alert the suspects, both known and unknown, of this pending
investigation and result in frustration of the instant investigation and possibly the destruction of
evidence.”).

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 noted above, supra at 7-8, Silski gave detailed reasons supporting his conclusion, and the

 Defendants have not shown any of those reasons to be pretextual.8

        The Court also rejects Defendants’ reliance on cases like United States v. Gonzalez, 412

 F.3d 1102 (9th Cir. 2005), and United States v. Blackmon, 273 F.3d 1204 (9th Cir. 2001). In

 Blackmon, a government agent submitted a necessity affidavit to conduct electronic surveillance

 against an initial narcotics trafficking suspect, Maurice Miller. In that affidavit, the agent

 averred that numerous attempts to use traditional surveillance to investigate Miller had failed.

 That averment was accurate as to Miller. However, six weeks after obtaining the Miller wiretap,

 the government submitted a “carbon copy” necessity affidavit against a second target, Rodney

 Blackmon. Blackmon, 273 F.3d at 1208. Thus, the Blackmon affidavit, on its face, raised

 concerns as to whether the proffered facts supporting the claimed necessity as to him were

 truthful. Importantly, “no further investigative efforts were attempted in between the application

 for the Miller wiretap and that for the Blackmon wiretap.” Id. The Ninth Circuit found that the

 Blackmon affidavit’s reference to failed traditional surveillance techniques as to him were

 materially false and “worked to conceal the fact that necessity had not been established” as to

 him. Id. The court also found that, removing those false statements, the affidavit was left with

 only “generalized statements that would be true of any narcotics investigation, [which] fails to

 contain sufficiently specific facts to satisfy the requirements of § 2518(1)(c).” Id. at 1211. Here,

 in contrast, the Defendants do not point to any materially false statement contained in Silski’s



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   Silski’s affidavit also discussed the shortcomings of other types of surveillance. For instance,
 he explained that physical surveillance was successful in neither identifying all of the persons
 involved in the alleged criminal activity, nor the individuals’ specific roles. Aff. at ¶154. He
 also noted that “Mackey has become surveillance conscious,” and that a recent attempt (and
 more remote ones) yielded “nothing of note to observe … [as] the operation occurs exclusively
 outside the public view.” Id. He also explained why GPS trackers and pole cameras would be
 ineffective. Id. at ¶¶155-56.
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 affidavit, and Silski’s detailed explanation as to why other investigative methods were or would

 be ineffective can hardly be characterized as “generalized statements.”

        Similarly, in Gonzalez, the Ninth Circuit found the wiretap affidavit in question to be

 invalid because it indicated that the only investigative methods agents had previously attempted

 were “(1) five-days-worth of pen register analysis; (2) an equally short use of trap-and-trace

 analysis; and (3) limited physical surveillance,” and because other unutilized procedures were

 reasonably likely to succeed. Gonzalez, 412 F.3d at 1112-13. Here, in contrast, Silski showed

 that agents had attempted an extremely wide array of non-wiretap investigative procedures, and

 explained their past and likely future shortcomings in terms of aiding the investigation.

        For all of these reasons, the Court recommends that, as it relates to Silski’s initial

 application and affidavit, Defendants’ motion to suppress be denied.

                ii.     The Extension Requests

        Defendants also argue that the affidavits Silski used to support his requests to extend the

 wiretap authorization fail to establish the “necessity” of continued use of wiretaps.            But

 Defendants’ argument rests on a series of incorrect premises. First, Defendants’ suggestion that

 the law imposes an exhaustion “reset” requiring the government to show, anew, that all possible

 other investigative means have been attempted to no avail, is simply an inaccurate statement of

 the law. Just as no such exhaustion requirement exists with an initial wiretap application, see

 supra at 4, “[a]n application for an extension of a wiretap order requires ‘a statement setting

 forth the results thus far obtained from the interception, or a reasonable explanation of the failure

 to obtain such results.’” United States v. Gebara, 2010 WL 728556, at *4 (E.D. Mich. Feb. 25,

 2010) (quoting 18 U.S.C. § 2518(1)(f)).

        Second, Defendants’ assertion that investigators did not undertake further traditional



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 investigative techniques after the initial wiretap was authorized is also incorrect. For instance, in

 Special Agent Silski’s first extension affidavit (which, like the other extension requests

 incorporated his prior affidavits), he explained that, in addition to obtaining wiretap evidence,

 investigators “attempted several physical surveillances of [] Mackey.” 1st Ext. Aff. at ¶90. Silski

 went on to describe surveillance of Mackey and other individuals driving to meet locations and

 engaging in apparent brief conversations. E.g., id. at ¶93. As Silski explained later in his

 affidavit, these “observations reveal who is meeting, but not the reason for the meeting, or

 whether anything is being exchanged at the meeting. It is only through a combination of the

 interception of wire communications and the surveillance that [agents] were able to learn the

 nature of the meeting.” Id. at ¶126; see also 2nd Ext. Aff. at ¶111; 3rd Ext. Aff. at ¶150 (“Since

 the cessation of interception on December 7, 2012, physical surveillance has been conducted on

 Mackey on three separate occasions.        None of these have yielded any further information

 indicating where Mackey maintains monies to facilitate the gambling operation…[also since that

 time] subpoenas have been issued or returns received for subscriber information from service

 providers. While valuable, subscriber information does not always definitively identify the user

 of a telephone.”). Silski’s extension affidavits thus made clear that while agents were continuing

 to employ non-wiretap investigative methods, “it does not appear that the government could have

 uncovered the full scope of the conspiracy, especially not in a relatively safe manner, without the

 wiretaps.” Gebara, 2010 WL 728556, at *5 (quoting Stewart, 306 F.3d at 306). Importantly, the

 extension affidavits also made clear that the alleged criminal enterprise being investigated

 continued to rely heavily on the telephone to conduct its affairs. 1st Ext. Aff. at ¶¶58-89; 2nd Ext.

 Aff. at ¶¶50-75; 3rd Ext. Aff. at ¶¶39-77. Thus, Landmesser’s reasoning that “wiretapping is

 particularly appropriate when the telephone is routinely relied on to conduct the criminal



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 enterprise under investigation” applies as much to Silski’s extension affidavits as it did to his

 initial affidavit. See Landmesser, 553 F.2d at 20; see also supra, fn. 5.

        Defendants also incorrectly claim that Silski failed, in his extension affidavits, to analyze

 “the abundant amount of evidence and information acquired in the [intervening periods].” [106

 at 13]. Defendants claim that in the first thirty days after the initial wiretap was approved, “the

 identity of numerous bettors was ascertained,” and argue that before the government could

 establish the “necessity” of continuing the wiretap, it was required to either bring “many or all of

 those bettors, sub books and others” to the grand jury, or send agents to their homes to interview

 them in person. [Id.]. But this argument fails for much the same reason it failed with respect to

 Silski’s initial affidavit; Silski explained the limited information that individual bettors were

 likely to be able to provide agents about the overall gambling operation, and the risk that

 approaching any of them would negatively impact the investigation. See supra at 9; see also

 e.g., 1st Ext. Aff. at ¶130. Silski also explained that “there is not enough evidence in the

 government’s possession concerning the criminal associates [] for a grand jury investigation [] to

 be effective. Furthermore, a grand jury investigation would likely alert the subjects to this

 pending investigation and thereby cause them to alter their modus operandi, thereby frustrating

 the investigation.” 1st Ext. Aff. at ¶129.

        In sum, Defendants’ characterization of the extension affidavits as providing “the same

 boilerplate, hackneyed, unsupported clichés and conclusions” found in his initial affidavit is not

 a fair description of either the initial or subsequent affidavits’ contents. Rather, Silski’s initial

 and extension affidavits show that the government gave “serious consideration to the non-

 wiretap techniques prior to applying for wiretap authority” and provided the court reasonably

 detailed information as to why he believed that non-wiretap techniques “have been or will likely



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 be inadequate.’” Lambert, 771 F.2d at 91. Accordingly, Defendants’ instant motion to suppress

 should be denied.

 III.   CONCLUSION

        For the aforementioned reasons, the Court RECOMMENDS that Defendants’ Motion to

 Suppress Electronic Surveillance Because of the Failure to Establish an Adequate Showing of

 Necessity [106] be DENIED.


 Dated: June 5, 2015                                  s/David R. Grand
 Ann Arbor, Michigan                                  DAVID R. GRAND
                                                      United States Magistrate Judge



                 NOTICE TO THE PARTIES REGARDING OBJECTIONS

        The parties to this action may object to and seek review of this Report and

 Recommendation, but are required to act within fourteen (14) days of service of a copy hereof as

 provided for in 28 U.S.C. § 636(b)(1) and Fed. R. Civ. P. 72(b)(2). Failure to file specific

 objections constitutes a waiver of any further right of appeal. Thomas v. Arn, 474 U.S. 140

 (1985); Howard v. Secretary of HHS, 932 F.2d 505, 508 (6th Cir.1991); United States v. Walters,

 638 F.2d 947, 949–50 (6th Cir.1981). The filing of objections which raise some issues, but fail

 to raise others with specificity, will not preserve all the objections a party might have to this

 Report and Recommendation. Willis v. Secretary of HHS, 931 F.2d 390, 401 (6th Cir.1991);

 Smith v. Detroit Fed’n of Teachers Local 231, 829 F.2d 1370, 1373 (6th Cir.1987). Pursuant to

 E.D. Mich. LR 72.1(d)(2), a copy of any objections is to be served upon this magistrate judge. A

 party may respond to another party’s objections within 14 days after being served with a copy.

 See Fed. R. Civ. P. 72(b)(2); 28 U.S.C. §636(b)(1). Any such response should be concise, and

 should address specifically, and in the same order raised, each issue presented in the objections.

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                               CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was served upon counsel of record
 via email addresses the court has on file.

                                                   s/Eddrey O. Butts
                                                   EDDREY O. BUTTS
                                                   Case Manager

 Dated: June 5, 2015




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